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                  UNITED STATES DISTRICT COURT
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

BILL NELSON FOR U.S. SENATE,

            Plaintiff,

v.                                            Case No. 4:18cv536-MW/MJF

KEN DETZNER, in his official
capacity as Secretary of State,
PALM BEACH CANVASSING BOARD,
and SUSAN M. BUCHER, in her
official capacity as Palm Beach
County Supervisor of Elections,

           Defendants.
___________________________________/

                         SUPPLEMENTAL ORDER

      This Court held a telephonic conference last Friday evening on the

existence of a live controversy in this matter. During the hearing, the parties

indicated that Palm Beach County’s use of its machine recount totals was

appropriate. Accordingly, this Court directs the parties to explain if there

remains a justiciable issue in this matter.

      The parties are directed to confer and, after conferral, file indication of

how they intend to proceed in this Court. The parties shall file this notice on
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or before Friday, November 30, 2018.

     SO ORDERED on November 19, 2018.

                                  s/Mark E. Walker           ____
                                  Chief United States District Judge
